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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                         )
             v.          )                          Case No. 21-CR-00188-RDM
                         )
PAUL ALLARD HODGKINS     )
                         )
            Defendant.   )

              MOTION FOR PROGRESS HEARING TO BE HELD VIA
                        VIDEOTELECONFERENCE

     MR. PAUL ALLARD HODGKINS by and through undersigned counsel hereby

respectfully moves the Court to schedule the required initial progress hearing requested in

ECF 21-CR-00188 Doc No. 51 via restricted video-teleconference and at a time coordinated

by the court clerk with the parties. Mr. Hodgkins provides the following reasons:

        1. He resides in and is employed in Florida. Travel to and from Washington D.C.

would incur overly burdensome time and expense costs that can reasonably be mitigated by

use of video-teleconference.

        2. Use of video-teleconference hearings are not outside the norm, even without the

recent Covid-19 case increases and the D.D.C.'s continued Covid-19 safety measures in the

District Court's courtrooms.

        3. Regarding the standards for restricting public access, the filings and reporting by

the U.S. Probation Officer are restricted and not for public dissemination - as evidenced by

the filing in ECF 21-CR-00188 Doc No. 51.

        4. We request scheduling coordination as a standard courtesy so that schedule

conflicts can be resolved before placement of the hearing on the Court's calendar.
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     WHEREFORE, PAUL ALLARD HODGKINS requests that the Court grant this

motion and direct the court clerk to coordinate a date with the parties and to schedule the

initial progress hearing via video-teleconference.



June 2, 2022                                  Respectfully submitted,
                                              /s/ Carolyn A. Stewart

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